                     Case 2:07-cr-20090-KHV                                   Document 52                      Filed 08/13/07                      Page 1 of 2


AO 472 (Rev. 3/86) Order of Detention Pending Trial


                                                      United States District Court
                                                                           DISTRICT OF KANSAS

             UNITED STATES OF AMERICA
                       v.                                                                      ORDER OF DETENTION PENDING TRIAL
             CARLTON COLEMAN-05
                                                                                               Case Number: 07-20090-KHV
                                         Defendant

     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts
require the detention of the defendant pending trial in this case.
                                                           Part I - Findings of Fact
9 (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a (federal offense) (state
      or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed) that is
      9 a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
      9 an offense for which the maximum sentence is life imprisonment or death.
      9 an offense for which a maximum term of imprisonment of ten years or more is prescribed in

             9 a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                    U.S.C. § 3142(f) (1)(A)-(C), or comparable state or local offenses.
9 (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
      offense.
9 (3) A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
      the offense described in finding (1).
9 (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
             assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                             Alternative Findings (A)
9 (1) There is probable cause to believe that the defendant has committed an offense
      9 for which a maximum term of imprisonment of ten years or more is prescribed in ________________________________
      9 under 18 U.S.C. § 924(c).
9 (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
             reasonably assure the appearance of the defendant as required and the safety of the community.
                                                           Alternative Findings (B)
: (1) There is a serious risk that the defendant will not appear.
: (2) There is a serious risk that the defendant will endanger the safety of another person or the community.



                                          Part II - Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by (clear and convincing evidence) (a
preponderance of the evidence) that

                                   [see attached explanation]


                                                   Part III - Directions Regarding Detention
      The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United
States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the
United States marshal for the purpose of an appearance in connection with a court proceeding.

Dated:       August 13, 2007                                                                   s/ David J. Waxse
                                                                                                             Signature of Judicial Officer

                                                                                               DAVID J. WAXSE, UNITED STATES MAGISTRATE JUDGE
                                                                                                             Name and Title of Judicial Officer

*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c) Section 1 of Act of Sept. 15,
1980 (21 U.S.C. § 955a).
            Case 2:07-cr-20090-KHV          Document 52           Filed 08/13/07    Page 2 of 2



U.S.A. v. CARLTON COLEMAN
Criminal Action: 07-20090-05

                   Part II - Written Statement of Reasons for Detention
   There is a series of factors I have to look at to determine whether there are conditions of
release that will reasonably assure your appearance and protect the safety of the community.
   The first factor is the nature and circumstances of the offense charged, including whether
the offense is a crime involving a controlled substance, which it clearly is, so that is a negative.
   The next factor is the weight of the evidence. There has been a Grand Jury Indictment, so
that is a probable cause determination, which is a negative.
   The next factor is your personal characteristics, which include your physical and mental
condition. There is nothing in the reports or the proffer that indicates a problem.
   Your family ties would be positive.
   Your employment is questionable because the reports indicate you have been unemployed
since September 2006, but now you are self-employed, so that is considered neutral at this time.
   The next factor is your financial resources. There are no indications of substantial
resources that would enable you to flee, so that is a positive.
   Your length of residence in the community is a positive.
   Your community ties are positive.
   The next factor is your past conduct, which includes history relating to drug or alcohol
abuse, criminal history, and record concerning appearances to court proceedings. It is a problem
because there are several occasions here where you have had prior contact with law enforcement
and you availed to comply with conditions of release or with probations, so that is a negative.
   The next issue is whether at the time of the current offense or arrest you were on
probation or parole. It appears that there are several warrants pending, so that is a negative.
   Considering all these factors together, including the presumption and the sentence you
face, I cannot find that there are any conditions that will adequately protect the community.
You will remain detained.




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